 Case 6:15-cv-01977-PGB-KRS Document 8 Filed 01/20/16 Page 1 of 1 PageID 25



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

MICHAEL SCHWEIZER,

 Plaintiff,

-vs-                                            CASE NO.: 6:15-CV-1977-ORL-40KRS

MONITRONICS INTERNATIONAL, INC.,

 Defendant.
                                    /

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW the Plaintiff, MICHAEL SCHWEIZER, by and through his undersigned

attorney, and hereby files this Notice of Voluntary Dismissal With Prejudice of the above

captioned matter.

                               CERTIFICATE OF SERVICE

       I hereby certify that on January 20, 2016, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and a true and correct copy has been served

upon defendant, Monitronics International, Inc., c/o Registered Agent, CT Corp., 1200 S. Pine

Island Road, Plantation, FL 33324 and Margaret Peggy Carlson, Cup & Dyer, LLP, 222 E.

McKinney Street, Ste. 210, Denton, TX 76201 (pcarlson@cdhllp.com).

                                            /s/Frank Kerney, III
                                            Frank Kerney, III,
                                            Morgan & Morgan, Tampa, P.A.
                                            One Tampa City Center
                                            Tampa, FL 33602
                                            Tele: (813) 223-5505
                                            Fax: (813) 223-5402
                                            Florida Bar #: 88672
                                            Attorney for Plaintiff
